                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      No.:   2:09-CR-031
                                                )
BETTY FUSON                                     )

                           MEMORANDUM AND ORDER

        This case is before the court on the defendant’s motion for sentence reduction

[doc. 1289].    Through counsel, the defendant asks for a reduction in her term of

imprisonment pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendments

780, 782, and 788 to the United States Sentencing Guidelines Manual (“U.S.S.G.”). The

government has responded [doc. 1297], deferring to the court’s discretion whether and to

what extent to grant any such reduction, subject to the limitations of 18 U.S.C. §

3582(c)(2) and U.S.S.G. § 1B1.10.

I.      Authority

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).       One such exception is identified in 18 U.S.C. §

3582(c)(2):




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      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

If the court finds a defendant eligible for sentence reduction, “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S.S.G. § 1B1.10(b)(1) (2015). Amendment 782, which became

effective on November 1, 2014, revised the guidelines applicable to drug-trafficking

offenses by reducing the offense levels assigned to the drug and chemical quantities

described in guidelines 2D1.1 and 2D1.11. See U.S.S.G. app. C, amend. 782 (2014).

Amendment 788, which also became effective on November 1, 2014, identified

Amendment 782 as retroactive. See id., amend. 788.

      Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

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guideline application decisions unaffected.” See U.S.S.G. § 1B1.10(b)(1) (2015).           The

court “shall not” reduce a defendant’s term of imprisonment to a term “less than the

minimum of the amended guideline range,” nor to a term “less than the term of

imprisonment the defendant has already served.”           Id. § 1B1.10(b)(2)(A), (C). 1      In

addition, the commentary to guideline 1B1.10 provides that a court must also consider

the § 3553(a) sentencing factors and the danger to the public created by any reduction in

a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a defendant’s

post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated June 25, 2010, this court sentenced the defendant to 135

months’ imprisonment as to Count One (a cocaine base conspiracy). The defendant’s

guideline range was 151 to 188 months, based on a total offense level of 33 and a

criminal history category of II. Prior to sentencing, the United States filed a motion for

downward departure pursuant to U.S.S.G. § 5K1.1. The court granted the motion and

imposed the 135-month sentence.

       In April 2015, the court further reduced the defendant’s sentence pursuant to both

18 U.S.C. § 3582(c)(2) and the government’s Federal Rule of Criminal Procedure 35

motion. [Doc. 1288]. Applying U.S.S.G. Amendment 750, the defendant’s guideline

range was lowered to 121 to 151 months, based on a total offense level of 31 and a

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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant previously received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). That is the case here.
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criminal history category of II. Then, applying both the original 5K1.1 reduction and the

United States’ recommended Rule 35 reduction, the court lowered the defendant’s

sentence to 87 months. That reduction was 28 percent less than the then-applicable

guideline range.      According to the Bureau of Prisons, the defendant is presently

scheduled for release on March 8, 2022.

III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 97 to 121

months, based on a total offense level of 29 and a criminal history category of II. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission. Pursuant to

U.S.S.G § 1B1.10(c), a corresponding Rule 35 / 5K1.1 departure may be granted without

regard to the mandatory minimum sentence.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, her

post-sentencing conduct, and the need to protect the public. See id. § 1B1.10 cmt.

n.1(B)(ii).   Having done so, the court finds that the defendant should be granted a

sentence reduction.

IV.    Conclusion

       For the reasons stated herein, the motion for sentence reduction [doc. 1289] is

GRANTED. The defendant’s term of imprisonment is reduced to 70 months. This

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sentence includes a corresponding 28 percent substantial assistance reduction from the

bottom of the new guideline range. 2

       The defendant’s motion to expedite [doc. 1334] is DENIED AS MOOT.

       Except as provided above, all provisions of the judgment dated June 25, 2010,

shall remain in effect.

               IT IS SO ORDERED.

                                                            ENTER:



                                                                   s/ Leon Jordan
                                                             United States District Judge




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  The defendant asks the court to instead impose a “28.5” percent reduction. It is the court’s
long-standing practice to round up, or round down, the percentage of reduction in these cases.
The court did so in its April 2015 ruling and will continue to adhere to that consistent practice.
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